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                                                                         U.S. Department of Justice

                                                                         National Security Division


  Counterintelligence and Export Control Section                         Washington, D.C. 20530


                                                                         October 20, 2022

  By ECF and Courtesy Copy

  Judge Raymond J. Dearie
  United States District Court
   Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11202

  Re:       Donald J. Trump v. United States of America, Case No. 22-81294-CIV-CANNON –
            Filter A Documents Respecting Document Categorization and Executive Privilege

  Dear Judge Dearie:

  In response to Special Master Order ECF 138, the government met with Plaintiff’s counsel on
  certain Filter A documents “to confer and attempt to resolve or narrow the disputes regarding
  claims of executive privilege and designations pursuant to the Presidential Records Act.” Id. at 2.
  The “remaining disputes” regarding those 15 documents (ECF 138, at 1) are listed in the table
  below (17 log reference numbers omitting references 5 and 10 equals 15 documents) – disputes
  to be resolved by the Special Master are highlighted in yellow:

   Document Log             Bates                  Document                   Privilege Status (Executive Privilege
   Reference                Number(s)              Categorization             Only)
   Number
   1                        A-001                  Dispute                    Dispute
                                                   Plaintiff: personal        Plaintiff: Executive privilege
                                                   records                    Government: no privilege against
                                                   Government:                Executive Branch
                                                   Presidential
                                                   records
   2                        A-002 to A-003         Dispute                    Agreed: no claim of Executive Privilege by
                                                   Plaintiff: personal        Plaintiff
                                                   records
                                                   Government:
                                                   Presidential
                                                   records
   3                        A-004                  Dispute                    Agreed: no claim of Executive Privilege by
                                                   Plaintiff: personal        Plaintiff
                                                   records
                                                   Government:
                                                   Presidential
                                                   records


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   Document Log   Bates             Document              Privilege Status (Executive Privilege
   Reference      Number(s)         Categorization        Only)
   Number
   4              A-005             Dispute               Agreed: no claim of Executive Privilege by
                                    Plaintiff: personal   Plaintiff
                                    records
                                    Government:
                                    Presidential
                                    records
   6              A-017 to A-018    Dispute               Dispute
                                    Plaintiff: personal   Plaintiff: Executive privilege
                                    records               Government: no privilege against
                                    Government:           Executive Branch
                                    Presidential
                                    records
   7              A-019 to A-020    Dispute               Agreed: no claim of Executive Privilege by
                                    Plaintiff: personal   Plaintiff
                                    records
                                    Government:
                                    Presidential
                                    records
   8 (portion)    A-021 to A-022    Dispute               Agreed: no claim of Executive Privilege by
                  and A-025 to A-   Plaintiff: personal   Plaintiff
                  026               records
                                    Government:
                                    Presidential
                                    records
   9              A-029-A-030       Agreed:               Agreed: no claim of Executive Privilege by
                                    Presidential          Plaintiff
                                    records
   11             A-033             Agreed:               Agreed: no claim of Executive Privilege by
                                    Presidential          Plaintiff
                                    records
   12             A-036 through     Dispute               Agreed: no claim of Executive Privilege by
                  A040              Plaintiff: personal   Plaintiff
                                    records               (N.B. Part of document 12 was withheld
                                    Government:           from the government Case Team because
                                    Presidential          Plaintiff claims attorney-client privilege and
                                    records               work product immunity)
   13             A-043 through     Dispute               Agreed: no claim of Executive Privilege by
                  A052              Plaintiff: personal   Plaintiff
                                    records               (N.B. Part of document 13 was withheld
                                    Government:           from the government Case Team because
                                    Presidential          Plaintiff claims attorney-client privilege and
                                    records               work product immunity)
   14             A-053             Agreed: personal      Agreed: no claim of Executive Privilege by
                                    records               Plaintiff
   15             A-054             Agreed: personal      Dispute
                                    records               Plaintiff: Executive privilege
                                                          Government: no Executive privilege
   16             A-055             Agreed: personal      Dispute
                                    records               Plaintiff: Executive privilege
                                                          Government: no Executive privilege
   17             A-056-through     Agreed: personal      Agreed: no claim of Executive Privilege by
                  A-058             records               Plaintiff


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  The balance of this letter provides reasons and authority for why the government believes the
  disputed documents are Presidential records, are not subject to a valid claim of executive
  privilege, or both. We refer to documents by log and Bates numbers and do not reference
  potentially privileged content in order to permit this letter to be filed on the public docket.

  Document Categorization: Presidential vs. personal records –
  Nine Disputes for Report and Recommendation

  Of the 15 documents, the parties agree on the categorization of 6 documents and disagree as to
  the proper categorization of the remaining 9 documents. Plaintiff categorizes those nine
  documents (1, 2, 3, 4, 6, 7, 8, 12, and 13) as personal records citing the Presidential Records Act
  and a district court case:

         Personal: Record designated personal consistent with the Presidential Records Act of
         1978, 44 U.S.C. § 2201 et seq. and Judicial Watch v. NARA, 845 F. Supp 288 (D.D.C.
         2012).

  For its part, the government categorizes those nine documents as Presidential records.

  The nine documents are Presidential records because they are “[1] documentary material . . .
  [2] created or received by the President, the President’s immediate staff, or a unit or individual of
  the Executive Office of the President . . . [3] in the course of conducting activities which relate to
  or have an effect upon the carrying out of the constitutional, statutory, or other official or
  ceremonial duties of the President.” 44 U.S.C. § 2201(2).

         1. The nine documents are “documentary material” (44 U.S.C. § 2201(2)) because the
            Presidential Records Act defines that term broadly to include without limitation “all .
            . . correspondence, memoranda, documents, papers . . . whether in analog, digital, or
            any other form” (id. § 2201(1)).

         2. Those nine documents also appear to have been at least received by the President or a
            member of his staff or the Executive Office of the President.

         3. Lastly, those nine documents appear to have been created or received by Plaintiff “in
            the course of activities which relate to or have an effect upon the carrying out of the
            constitutional, statutory, or other official or ceremonial duties of the President.” Id.
            § 2201(2).

                 a. Six of the nine documents (2, 3, 7, 8, 12, 13), are clemency requests with
                    supporting materials and relate to the President’s “Power to grant Reprieves
                    and Pardons for Offences against the United States, except in Cases of
                    Impeachment.” U.S. CONST. Art. II, § 2, cl. 1. Those requests were received
                    by Plaintiff in his capacity as the official with authority to grant reprieves and
                    pardons, not in his personal capacity.



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                 b. Two of the nine documents (1 and 6) relate to immigration initiatives and the
                    President’s powers under the Immigration and Nationality Act and other laws
                    governing immigration and border control. Although Plaintiff claims that both
                    immigration documents 1 and 6 are personal and not Presidential records, he
                    inconsistently also asserts Executive Privilege over both documents.
                    Executive privilege applies to records of the President’s “constitutional,
                    statutory, or other official” duties (44 U.S.C. § 2210(2)), not personal records.

                 c. The last of the nine documents (4) is a printed e-mail message from a person
                    at one of the military academies addressed to the President in his official
                    capacity about the academy’s sports program and its relationship to martial
                    spirit. The message relates at a minimum to the “ceremonial duties of the
                    President” (44 U.S.C. § 2201(2)) if not to his Commander-in-Chief powers.

  The single district court case on which Plaintiff relies, Judicial Watch v. NARA, 845 F. Supp. 2d
  288 (D.D.C. 2012), does not prove that any of the nine documents were “[r]ecord[s] designated
  [as] personal consistent with the Presidential Records Act,” as Plaintiff asserts in his log entries.
  The district court in Judicial Watch held that a third party cannot bring a claim to compel NARA
  to revisit a President’s categorization of records. See 845 F. Supp. 2d at 302. Although the court
  stated that the responsibility to categorize records as Presidential or personal “is left solely to the
  President” during his term of office (id. at 301), neither the district court in Judicial Watch nor
  any other court has suggested that otherwise Presidential records may be rendered personal by
  fiat. Nor has any court held that NARA would be without authority or recourse if a President
  were to designate records that are plainly official government documents as personal records.
  More fundamentally, Plaintiff – who bears the burden of proof – offers no evidence that he in
  fact designated those nine documents (1, 2, 3, 4, 6, 7, 8, 12, and 13) as personal records during
  his term in office. As a result, Plaintiff fails to make even a prima facie case that documents 1, 2,
  3, 4, 6, 7, 8, 12, and 13 are personal records.*




  * Although the government offers its views on the proper categorization of the Filter A
  documents as Presidential or personal records as required by the Order Appointing Special
  Master (ECF 91, at 4) and Amended Case Management Plan (ECF 125, at 4), that categorization
  has no bearing on whether such documents may be reviewed and used for criminal investigative
  purposes and does not dictate whether such documents should be returned to Plaintiff under
  Criminal Rule 41(g). Personal records that are not government property are seized every day for
  use in criminal investigations. And the fact that more than 100 documents bearing classification
  markings were commingled with unclassified and even personal records is important evidence in
  the government’s investigation in this case.

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  Executive Privilege – Four Disputes for Report and Recommendation

  Of the 15 documents, Plaintiff does not assert Executive Privilege over 11 documents. Plaintiff
  asserts Executive Privilege over four documents (1, 6, 15, and 16). In his log entries, Plaintiff
  claims that documents 1 and 6 are pre-decisional and invokes a deliberative-process component
  of Executive Privilege. Plaintiff claims that documents 15 and 16 record communications
  between the President and his advisors and for those documents appears to invoke the
  Presidential communications component of Executive Privilege.

  As stated in its log entries, the government incorporates by reference its submissions on
  Executive Privilege before the district court (ECF 48, at 23-28) and the Eleventh Circuit (Brief of
  the United States, Donald J. Trump v. United States of America, No. 22-13005, at 29-38 (filed
  10/14/2022) (U.S. Br.)). With respect to the four documents, Plaintiff may not assert Executive
  Privilege to withhold those documents from the government, for four reasons.

  First, Plaintiff cannot logically assert Executive Privilege over two of the documents – 15 and 16
  – because the parties agree that those documents are personal and not Presidential records. Only
  official records are subject to assertions of Executive Privilege.

  Second, Plaintiff offers no authority that a former president may assert the deliberative-process
  component of Executive Privilege and thus has no claim to Executive Privilege over documents
  1 and 6. The Supreme Court’s decisions reserving the question whether a former president may
  invoke Executive Privilege were limited to the presidential-communications privilege, not the
  deliberative-process privilege. See Trump v. Thompson, 142 S. Ct. 680, 680 (2022) (Kavanaugh,
  J., respecting denial of application of stay of manage and injunction pending review) (“A former
  President must be able to successfully invoke the Presidential communications privilege for
  communications that occurred during his Presidency, even if the current President does not
  support the privilege claim.”); Nixon v. Administrator of General Services, 433 U.S. 425, 447-49
  (1977) (rejecting assertion of “the privilege of confidentiality of Presidential communications”
  against another Executive Branch component).

  Third, for the reasons and authority stated in the government’s prior submissions (see ECF 48, at
  23-26; U.S. Br. 29-31 (11th Cir.)), Plaintiff may not assert the Executive Branch’s privilege to
  withhold documents from itself. The Special Master flagged that issue in his proposed Case
  Management Plan. The illogic and absence of any authority to invoke Executive Privilege
  against the privilege holder is fatal to Plaintiff’s assertion as to documents 1, 6, 8, 15, and 16.

  Fourth, even if Plaintiff were permitted to assert executive privilege against the Executive
  Branch, that assertion would fail here because the government has a “demonstrated, specific
  need” for this evidence in its ongoing criminal investigation. United States v. Nixon, 418 U.S.
  683, 713 (1974) (see ECF 48, at 26-29; U.S. Br. 31-36 (11th Cir.)).




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  Thank you for your consideration.
                                      Respectfully submitted,


                                      JUAN ANTONIO GONZALEZ
                                      UNITED STATES ATTORNEY

                                      MATTHEW G. OLSEN
                                      Assistant Attorney General

                                      By:    /s/
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                                      Counterintelligence and Export Control Section
                                      National Security Division
                                      Department of Justice




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 20, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           /s/    Julie A. Edelstein
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